
Order, Supreme Court, New York County (Eileen A. Rakower, J.), entered September 8, 2011, which granted defendant’s motion to dismiss the complaint, unanimously affirmed, without costs.
Plaintiff failed to demonstrate that any papers or pleadings previously served upon defendant satisfied the statutory notice of claim requirements which require, among other things, that the notice of claim be sworn to by the claimant and served at least 60 days prior to commencement of an action against defendant (see McKinney’s Uncons Laws of NY §§ 7107, 7108). Absent compliance with the notice of claim requirement, the court lacks subject matter jurisdiction (see Lyons v Port Auth. of N.Y. &amp; N.J., 228 AD2d 250 [1st Dept 1996]; Luciano v Fanberg Realty Co., 102 AD2d 94, 96 [1984]). Concur—Mazzarelli, J.P., Acosta, Freedman, Richter and Gische, JJ.
